                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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BERTRAM COMMUNICATIONS, LLC,

                     Appellant,
      v.                                                       Case No. 09-CV-1037

NETW URX, INC.,

               Appellee.
____________________________________________

                                       ORDER

      On November 13, 2009, this court denied the motion of the appellant, Bertram

Communications, LLC (“Bertram”), for a temporary restraining order pending the final

resolution of the appeal of a decision of the Bankruptcy Court for the Eastern District

of W isconsin. (Docket #7). On that same date, the bankruptcy court entered a final

judgment confirming the Chapter 11 Plan of the appellee, Netwurx. (Bankruptcy

Docket #326). Netwurx’s reorganization plan allowed an angel investor, a third party

named W hitewater Communications (“W hitewater”), to receive 51% of Netwurx’s

equity, leaving the existing equity holders with 49% of the business. On November

25, 2009, Netwurx executed the plan, whereby a new entity called Netwurx Holding

was created and 100% of the interest in Netwurx was transferred to it. At the same

time, W hitewater purchased 51% of the interest in the appellee from the holding

company for $900,000.          Two days later, using the money procured from

W hitewater’s purchase, more than twenty of Netwurx’s creditors received payments

for their claims totaling $759,650.94. Two creditors continue to receive monthly



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distributions, and all claim objections appear to have been resolved in the

bankruptcy court. Out of Netwurx, a new entity with a new structure of operations,

new profit sharing agreements, and new customer contracts and lease agreements

has been created. However, undeterred by the court’s denial of the motion for a

temporary restraining order, Bertram has pressed on with its appeal. (Docket #14).

On December 14, 2009, Netwurx filed a motion to dismiss Bertram’s appeal, arguing

that this court could no longer fashion relief without disrupting the restructuring plan

and harming innocent third parties. (Docket #19). The court will grant Netwurx’s

motion and dismiss the appeal.

      If a bankruptcy plan has been substantially consummated in the intervening

time between confirmation and an appeal, the equitable principles of bankruptcy

counsel a court against disturbing a partially implemented plan. Matter of UNR

Indus., Inc., 20 F.3d 766, 769 (7th Cir. 1994). A court may consider a challenge to

a reorganization plan unreviewable when implementation of the plan has created,

extinguished or modified rights, especially if the plan has affected the rights of third

parties not before the court. In re Andreuccetti, 975 F.2d 413, 418 (7th Cir. 1992).

Substantial consummation of the reorganization plan is not determinative for the

court. Id. Instead, the Seventh Circuit has outlined several factors to be considered

when determining whether a bankruptcy plan ought to be upset on appeal, including

the virtue of finality, the passage of time, whether the plan has been substantially

consummated, and whether there has been a comprehensive change in



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circumstances. In re Specialty Equip. Cos., Inc., 3 F.3d 1043, 1048 (7th Cir. 1993).

A district court must also consider other factors such as whether the appellants have

sought a stay, the nature of the relief sought, and the impact of the relief upon the

debtor and third parties. Id. Ultimately, “the basic question” the court must ask is

whether it is “prudent and fair to undo what the bankruptcy court did.” Capital

Factors, Inc. v. Kmart Corp., No. 02-CV-1264, 2003 U.S. Dist. LEXIS 17437, at *13

(N.D. Ill. Sept. 29, 2003).

        Taken together, the factors militate in favor of not having this case proceed to

a determination on the merits of the appeal. First, the reorganization plan has been

substantially consummated.1                 For the purposes of bankruptcy law, substantial

consummation means: the transfer of “all or substantially all of the property” the plan

proposes to transfer; the reorganized entity’s assumption of the business and/or

management of the property addressed by the plan; and the start of distribution

under the plan. 11 U.S.C. § 1101(2). Here, following the reorganization plan, 51%

of the interest in Netwurx has been transferred to W hitewater and a reorganized

entity has assumed control of the business, as a substantial number of the creditors’

claims are being satisfied, making the plan substantially consummated. Moreover,

undoing what has occurred under the reorganization plan would harm third parties,


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            Bertram argues that, based on the m erits of its appeal, the reorganization plan’s im plem entation was
“illegitim ate” because the plan subm itted by Netwurx was not done in a tim ely m anner and that “substantial
consum m ation should not have a bearing on the court’s decision to allow the appeal to proceed.” (Appellant’s
Br. 3). However, even if the appellant is correct that Netwurx did not fully com ply with the procedural rules
governing bankruptcy proceedings, “whether one or another detail [during the bankruptcy proceedings]
. . . could have been accom plished better is precisely the sort of question that should not upset a substantially
consum m ated plan of reorganization.” In re UNR, Indus., Inc. 20 F.3d at 771.

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most notably W hitewater. Whitewater has assumed an interest in Netwurx, and

there is nothing to indicate that merely reimbursing the company for the money it has

invested in the appellee would make the angel investor whole.2 This is especially

true, given the sizable tax implications for W hitewater, if this court rescinded the

bankruptcy plan.          In addition, the new entity running Netwurx has entered into

several new business agreements with hundreds of third parties who have relied on

the judicial assurance “that they [were] safe” in entering into such arrangements. In

re UAL Corp., 408 F.3d 847, 850 (7th Cir. 2005). As such, the court is “exceedingly

reluctant” to upset a plan after it has taken effect. Id. Finally, reversing the efforts

that have followed the approval of the reorganization plan is akin to an attempt to

“place toothpaste back into the tube.” Abiding by the reorganization plan, Netwurx

has completed a series of complex transactions creating an entirely different entity.

Nearly all of the creditors have been paid off, and countless transactions have

occurred, all contingent, either explicitly or implicitly, on W hitewater’s role in

stabilizing Netwurx.         Having Bertram “step into the shoes” of W hitewater risks

dramatically disrupting all that has occurred over the past several months. Taken

together, the court can only conclude that it would not be “prudent and fair to undo

what the bankruptcy court” has done. Capital Factors, Inc., 2003 U.S. Dist. LEXIS

17437, at*13.


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           W hitewater has m ade an investm ent in Netwurx presum ably because it envisions a strong future
for the com pany. Unwinding the reorganization plan and reim bursing W hitewater for the costs its incurred
in investing in Netwurx would do nothing to m ake up for the opportunity cost W hitewater would lose by being
deprived, through no fault of its own, of its investm ent.

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     Accordingly,

     IT IS ORDERED that appellee’s motion to dismiss (Docket #19) be and the

same is hereby GRANTED.

     The clerk is directed to enter judgment accordingly.

     Dated at Milwaukee, W isconsin, this 18th day of February, 2010.

                                            BY THE COURT:




                                            J.P. Stadtmueller
                                            U.S. District Judge




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